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                                       CURRICULUM VITAE

                                LINDSEY CAROL THOMAS, M.D.
                                        1175 Nininger Road
                                        Hastings, MN 55033
                                           651-480-4250
                                        (fax) 651-480-4257

EMPLOYMENT:

Medical Examiner, Minnesota Regional Medical Examiner’s Office            July 2006 to present
   Covering the counties of Carver, Chisago, Dakota, Fillmore,
         Freeborn, Goodhue, Houston and Scott

Coroner, Minnesota Regional Coroner’s Office                              1999 to June 2006

Consultant to LaCrosse County Medical Examiner                            1997 to present

Consultant to LeSueur County Coroner                                      1997 to present

Consultant to Steele County Coroner                                       2006 to present

Staff pathologist, Regina Medical Center                                  1997 to present

Assistant Coroner, Minnesota Regional Coroner's Office                    1997 to 1998

Staff Pathologist, Cannon Falls Community Hospital                        1997 to 2007

Consulting Pathologist, Fairview RedWing Hospital (formerly St. John’s)   1998 to 2005

Consulting Pathologist, Midwest Forensic Pathology                        2004 to 2006

Assistant Hennepin County Medical Examiner                                1989 to 2000

Deputy Hennepin County Medical Examiner                                   1985 to 1989

PROFESSIONAL EDUCATION:

Medical School: 1976 to 1980, University of Michigan Medical School, Ann Arbor, Michigan. M.D.,
         1980.

Residency: 1980 to 1984, Pathology Department, University of Michigan Medical Center, Ann
        Arbor, Michigan.

Fellowship: 1986 to 1988, Hennepin County Medical Examiner's Office, Minneapolis, Minnesota.

PRELIMINARY EDUCATION:

1972: Graduated Kalamazoo Central High School, Kalamazoo, Michigan.

1972 to 1976: Oberlin College, Oberlin, Ohio.
          Majors: Chemistry and Biology. B.A., 1976.
          Honors: Merck Sharp and Dohme Award, to "Pre-Med" Chemistry Major, 1976.
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BOARD CERTIFICATION:

American Board of Pathology: Anatomic and Clinical Pathology, 1984
                             Forensic Pathology, 1988
LICENSES:

Medicine and Surgery: Minnesota #28998, 1984 to present.
                      Wisconsin #39555-020, 1998 to present.

PROFESSIONAL ORGANIZATIONS:

Member, Minnesota Medical Association

Member, American Medical Association

Member, American Academy of Forensic Sciences

Member, Board of Directors of Minnesota Coroners' and Medical Examiners' Association
(President 2000 – 2001, 2007 - 2008)

Member, National Association of Medical Examiners

Fellow, College of American Pathologists

Fellow, American Society of Clinical Pathologists

Member, Hennepin Medical Society

Member, Minnesota Society of Pathology

Member, Medical Examiner/Coroner Advisory Committee, LifeSource

Member, Twin Cities Society of Pathologists

PUBLICATIONS:

Lerman, BB, Thomas, LC, Abrams, GD, Pitt, B: "Aortic Stenosis Associated with Systemic Lupus
          Erythematosis", Am J Med 1982;72:707-710.

Co-author of: Protecting the Right to be Free from Arbitrary Killing through an Adequate
           Autopsy and Investigation into the Cause of Death. Published by the Minnesota
           Lawyers International Human Rights Committee, June 1985.

Thomas, LC and Peterson, GF: "A Proposed Model Autopsy Protocol", The Police Surgeon Nov.
          1986; 30:54-59.

Revised to: Manual on the Effective Prevention and Investigation of Extralegal, Arbitrary and
            Summary Executions. Published by the United Nations, December, 1989.

Roe, SJ and Thomas, LC: “Completing a Death Certificate Properly”, Minnesota Medicine January
           2004; 39 – 40.


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PRESENTATIONS AND LECTURES:

American Academy of Forensic Sciences, “A Model Autopsy Protocol”,
         New Orleans, Louisiana                                                     February 1986

Cross Channel Conference, “A Model Autopsy Protocol”, London, England                          1986

Forensic Science Seminar, MN Coroners’ and Medical Examiners’ Association,
          “The Vulnerable Adults Act”, Minneapolis, Minnesota                        October 1986

Bemidji Trial Advocacy Course, Minnesota County Attorneys’          1986, 1987, 1999, 2000, 2002
          Association

Fundamentals of Death Investigation, MN Regional Coroner’s Office                              1999

Forensic Evidence Institute, MN Department of Public Safety                                    2002

National Association of Medical Examiners, “Revising the Minnesota Coroners and
          Medical Examiners Statutes”, San Jose, California                                    2003

Forensic Science Seminar, MN Coroners’ and Medical Examiners’ Association,
          “Hospice Issues”, Minneapolis, Minnesota                                   October 2003

Training Seminar, Winona County Coroners and Law Enforcement                                   2004

Criminal Justice Institute, MN State Bar Association, “Forensic Pathology”
           Bloomington, Minnesota                                                     August 2004

Forensic Science Seminar, MN Coroners’ and Medical Examiners’ Association
           “Manner of Death”, Minneapolis, Minnesota                                 October 2004

Minnesota Bureau of Criminal Apprehension Forensic Science Partnership,
          St. Paul, Minnesota
                October 2004, April 2005, October 2005, May 2006, November 2006,
                May 2007, November 2007, May 2008

Minnesota Bureau of Criminal Apprehension Death Scene Investigation,
          “Role of the Coroner, Blunt and Sharp Force Injuries” Willmar, Minnesota             2005
                                                                 Bemidji, Minnesota            2006
          “The Role of the Medical Examiner, Blunt and Sharp Force Injuries,
           Gunshot Wounds”                                     Plymouth, Minnesota             2006
          Case Presentation                                 Breezy Point, Minnesota            2007

Minnesota Division of the International Association of Identification,
         “Tough Calls for the Coroner”, Rochester, Minnesota                      September 2005

Criminal Justice Institute, “Autopsies – What to Expect and How to Work With the
           ME’s Office”, Bloomington, Minnesota                                      August 2006

Burnsville Police Department, “The Role of the Medical Examiner”             September 2006, 2007

Minnesota Bureau of Criminal Apprehension Crime Scene Team Leaders,
          “Death Investigation, Postmortem Changes”                               September 2006
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Forensic Science Seminar, MN Coroners’ and Medical Examiners’ Association
           “Revision of Chapter 390”, “Fire Death Autopsies”,
            Brooklyn Center, Minnesota                                                October 2006

Towards Zero Death Conference,
          “Death Notification”, Duluth, Minnesota                                  November, 2006

Forensic Science Seminar, MN Coroners’ and Medical Examiners’ Association
            Legislative Update, Case Presentation
            Brooklyn Center, Minnesota                                                October 2007

Minnesota Junvenile Officers Conference
            “Case Study – The Homicide of Kenny Kramer”
            Duluth, Minnesota                                                         January 2008

Southeastern Minnesota Emergency Medical Services Conference
           “Medicolegal Death Investigation and the Role of the
            Medical Examiner/Coroner”
            Rochester, Minnesota                                                        March 2008

Minnesota Chapter of the International Association of Arson Investigators
            Fire Investigation Conference
            “Burns and Fire Death Investigation”
            St. Cloud, Minnesota                                                        March 2008

Tri County Law Enforcement Association
             “Tough Calls for the Medical Examiner”
              Minneapolis, Minneaots                                                    March 2008

2008 Clinical Laboratory Collaborative, American Society for Clinical
              Laboratory Science, Minnesota
              “Tough Calls for the Medical Examiner”
               St. Paul, Minnesota                                                        May 2008

PROFESSIONAL COURSES AND CONFERENCES:

Forensic Anthropology, Smithsonian Institute, Washington, D.C.                                1985

Advanced Forensic Pathology, Armed Forces Institute of Pathology                              1986

Forensic Science Seminar, MN Coroners’ and Medical Examiners’ Association              1985 – 2007

American Academy of Forensic Sciences Conference 1986, 1988, 1993, 2001, 2005, 2007, 2008

Minnesota Bureau of Criminal Apprehension (BCA) Investigation of Infant Deaths                1994

National Association of Medical Examiners Conference                               1996, 1999, 2003

Masters Course in Death Investigation, St. Louis University, St. Louis, Missouri              1999

American Society of Clinical Pathologists/College of American Pathologists Conference         2002

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BCA Investigation of Homicides                                                            2002

Homicidal Drowning, Washington County, MN                                                 2003

BCA Death Investigation                                         2003, 2004, 2006, 2007, 2008




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                          CASE NAME                           ATTY’S NAME         TESTIFIED        DEPOSITION

MN v. Thomas Rhodes                                     Deborah Ellis                02/02
MN v. Phillip Knox                                      John Moosbrugger             02/02
MN v. Paul Gutierrez                                    Michael York                 03/02
MN v. Monty Lyons                                       Rodney Brodin                09/02
US v. Conrad Hobart WhiteHat                            Jana Miner                   08/03
MN v. Nestell                                           Mark Todd                  08/22/03
Robert M. Wojcik v. New Mech Companies                  Mark Kleinschmidt                             01/04
WI v. Michael Alexander                                 Scott Horne                  02/04
MN v. Harris                                            Steven Coz                   04/04
WI v. John Nelson                                       Daniel Goglin                05/04
WI v. Charles L Piccolo                                 Loralee Clark            08/04? 03/04?
MN v. Phillip Vance                                     Kathryn Keena               09/04 ?
MN v. Thanh Quan Tran (DC03-677)                        Scott Hersey                 09/04
WI v. William Dahlby                                    Loralee Clark                09/04
MN v. Clinton Swanson (SC03-78)                         Ronald Hocevar               10/04
MN v. Charles Barnes (DC04-376)                         Debra Schmidt                02/05
MN v. Anthony DeMarco, Justin Weiss, Duane Lipiatos,    ?                              ?
Timothy Morin (DC04-666)
MN v. Nicolle Rauschnot                                 Phillip Prokopowicz         04/05 ?
MN v. Keith Hapana Crow                                 Mary McMahon               08/22/05
Decedent Amelia Joseph (DC01-176)                       Michael Zimmer               09/05
MN v. Jairam Ganpat (DC05-119)                          Cheri Townsend               03/06
MN v. Buboltz                                           Bruce Rivers                 07/06




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                          CASE NAME                                 ATTY’S NAME       TESTIFIED     DEPOSITION

US v. Tamara Azure/Wind                                      Jana Miner                 09/06
Lois Ann Johnson v. Wood Co. et al                           Donald Schneider                         12/20/06
MN v. Cory Kuhns (SC06-45)                                   Neil Nelson              01/24/07
MN v. Hector Medrano (GC05-56)                               Al Zdrazil               02/09/07
WI v. Steven Allen Bush                                      Craig Haukaas            08/22/07
In the matter of the children of Tanikka Kazee and Darnell   Rice Co. Atty’s office   11/01/07
Armstrong (DC07-308)
Welfare of Allan Beckles (DC07-517)                          Karen Henke              01/30/08
Benz v. Palisade Manor                                       Reed Rasmussen                            2/8/08
Buck v. South Dakota                                         Christina Fischer                        2/15/08
MN v. Thorpe Bradley                                         Joseph parise             3/28/08




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